        Case: 1:16-cv-11517 Document #: 1 Filed: 12/20/16 Page 1 of 7 PageID #:1



                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 VANESSA CLAIRE DAVIS,
                                                           CIVIL COMPLAINT
               Plaintiff,

 v.                                                              CASE NO. 1:16-cv-11517

 COMENITY BANK,
                                                       DEMAND FOR JURY TRIAL
               Defendant.


                                          COMPLAINT

        NOW comes VANESSA CLAIRE DAVIS (“Plaintiff”), by and through her attorneys,

Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of COMENITY BANK

(“Defendant”) as follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection

Act (“TCPA”) pursuant to 47 U.S.C. §227 and the Illinois Consumer Fraud and Deceptive

Business Practices Act (“ICFA”) pursuant to 815 ILCS 505/1 for Defendant's unlawful practices.

                                    JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction

is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States and supplemental jurisdiction exists for the state law claim

pursuant to 28 U.S.C. §1367.




                                                 1
        Case: 1:16-cv-11517 Document #: 1 Filed: 12/20/16 Page 2 of 7 PageID #:2



   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts

business in the Northern District of Illinois and a substantial portion the events or omissions

giving rise to the claims occurred within the Northern District of Illinois.

                                              PARTIES

   4. Plaintiff is a 59 year old natural person, currently residing at 3 West 120th Street,

Chicago, Illinois, which falls within the Northern District of Illinois.

   5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39) of the TCPA.

   6. Plaintiff is a “person” and “consumer” as defined by 815 ILCS 505/1(c) and (e) of the

ICFA.

   7. Defendant is a national banking institution organized under the laws of the United States

with its headquarters located in Wilmington, Delaware. Defendant is a foreign company that

conducts business with consumers in Illinois.

   8. Defendant is a “person” as defined by 47 U.S.C. §153(39) of the TCPA.

   9. Defendant’s collection calls to Plaintiff are “trade” and “commerce” as defined by 815

ILCS 505/1(f) of the ICFA.

   10. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                             FACTS SUPPORTING CAUSES OF ACTION

   11. Over a year ago, Plaintiff obtained a Victoria’s Secret consumer credit card issued

through Defendant which she used to purchase personal goods for herself and her family. See

attached Exhibit A is a true and correct copy of an affidavit signed by Plaintiff.




                                                  2
       Case: 1:16-cv-11517 Document #: 1 Filed: 12/20/16 Page 3 of 7 PageID #:3



   12. After experiencing financial hardship, Plaintiff defaulted on her payments to Defendant.

See Exhibit A.

   13. Whenever Plaintiff has been late with her payments in the past, Defendant will regularly

and persistently call her seeking to collect on the defaulted amount. Id.

   14. In approximately May 2016, Plaintiff began receiving phone calls to her cellular phone,

(312) XXX-2047, from Defendant seeking to collect upon the past due balance. Id.

   15. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 2047. Plaintiff is and has always been financially

responsible for the cellular phone and its services.

   16. Defendant has used a variety of phone numbers to call Plaintiff’s cellular phone,

including (913) 312-5191, (913) 312-5192 and (800) 695-2817. Id.

   17. Upon information and belief, the aforementioned phone numbers are utilized by

Defendant to contact consumers during its debt collection activities.

   18. When answering calls from Defendant, Plaintiff often experiences a noticeable pause,

approximately four seconds in length, before a live person starts speaking. Id.

   19. On or around May 29, 2016, speaking with one of Defendant’s representatives, Plaintiff

notified it of her financial difficulties and demanded that it stop calling her. Id.

   20. Despite her demands, Defendant has continued to regularly call Plaintiff’s cellular phone

up until November 2016. Id.

   21. Defendant also leaves pre-recorded voice messages on Plaintiff’s cellular phone when

she does not answer its calls.

   22. Plaintiff has received not less than 8 calls from Defendant after asking it to stop calling

her. Id.



                                                  3
       Case: 1:16-cv-11517 Document #: 1 Filed: 12/20/16 Page 4 of 7 PageID #:4



    23. Frustrated over the persistent calls, Plaintiff spoke with Sulaiman regarding her rights,

resulting in costs and expenses.

    24. Plaintiff has suffered financial loss as a result of Defendant’s actions.

    25. Plaintiff has incurred charges and expenses that she would not have otherwise incurred if

not for Defendant’s systematic calls, including the loss of cellular phone capacity.

    26. Plaintiff’s job performance has been affected by Defendant’s calls resulting in financial

loss. Id.

    27. With the goal of ending Defendant’s conducts, Plaintiff has purchased and maintained an

application on her cellular phone to block the calls. Id.

    28. Plaintiff has been unfairly harassed by Defendant's actions, resulting in an increased

stress level. Id.

    29. Plaintiff has suffered concrete harm as a result of Defendant’s actions.

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            COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

    30. Plaintiff repeats and realleges paragraphs 1 through 29 as though fully set forth herein.

    31. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent.

The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the

capacity...to store or produce telephone numbers to be called, using a random or sequential

number generator; and to dial such numbers.”

    32. Defendant used an ATDS in connection with it communications directed towards

Plaintiff. The prerecorded messages left on Plaintiff’s voicemail are typical of the variety

generated by an ATDS. Additionally, the brief pause that Plaintiff experienced during answered

calls before being connected to a live representative of Defendant is instructive that an ATDS

                                                  4
      Case: 1:16-cv-11517 Document #: 1 Filed: 12/20/16 Page 5 of 7 PageID #:5



was being used. Finally, the frequency and nature of Defendant’s calls strongly suggests that an

ATDS was used.

   33. Defendant violated the TCPA by placing phone calls to Plaintiff’s cellular phone using

an ATDS without Plaintiff’s consent. Any consent Plaintiff may have given to Defendant was

explicitly revoked.

   34. The calls placed by Defendant to Plaintiff were regarding business transactions and not

for emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   35. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, VANESSA CLAIRE DAVIS, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.


                       COUNT II – VIOLATIONS OF THE ILLINOIS
                CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT

   36. Plaintiff restates and realleges paragraphs 1 through 35 as though fully set forth herein.

   37. The ICFA states:



                                                5
       Case: 1:16-cv-11517 Document #: 1 Filed: 12/20/16 Page 6 of 7 PageID #:6



                “Unfair methods of competition and unfair or deceptive acts or
                practices, including but not limited to the use or employment of any
                deception, fraud, false pretense, false promise, misrepresentation or
                the concealment, suppression or omission of any material fact, with
                intent that others rely upon the concealment, suppression or
                omission of such material fact . . . in the conduct of any trade or
                commerce are hereby declared unlawful whether any person has in
                fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

   38. Defendant violated 815 ILCS 505/2 by engaging in an unfair and deceptive act or

practice in contacting Plaintiff. It was unfair for Defendant to relentlessly contact Plaintiff

through means of an ATDS after she notified it of her financial situation and requested that it no

longer call her phone. Defendant ignored Plaintiff’s requests and continued to contact her at

least 8 times after she made her request. Following its characteristic behavior in placing

voluminous phone calls to consumers with past due accounts, the calls here were placed with the

hope that Plaintiff would be compelled to make payment.

   39. Not only did Defendant ignore Plaintiff’s prompts to cease its calls, and continued to

seek payment from her, but it also placed phone calls using a variety of phone numbers in a

deceptive attempt to trick Plaintiff into answering and to ultimately coerce her into submission.

   40. The ICFA was designed to protect consumers, such as Plaintiff, from the exact behavior

committed by Defendant.

   41. The ICFA further states:

                “Any person who suffers actual damage as a result of a violation of
                this Act committed by any other person may bring an action against
                such person. The court, in its discretion may award actual economic
                damages or any other relief which the court deems proper.” 815
                ILCS 505/10a.

   42. As pled in paragraphs 22 through 29, Plaintiff has suffered actual damages as a result of

Defendant’s unlawful collection practices. As such, Plaintiff is entitled to relief pursuant to 815

ILCS 505/10a.

                                                  6
      Case: 1:16-cv-11517 Document #: 1 Filed: 12/20/16 Page 7 of 7 PageID #:7



   WHEREFORE, Plaintiff, VANESSA CLAIRE DAVIS, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual and punitive damages, in an amount to be determined at trial,
      for the underlying violations;

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Awarding any other relief as this Honorable Court deems just and appropriate.


Dated: December 20, 2016                           Respectfully submitted,

                                                   s/ Nathan C. Volheim
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                                               7
